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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                        CASE NO. 1:18-CV-25106-WILLIAMS/TORRES

  UNITED AMERICAN CORP.,

                 Plaintiff,

         v.

  BITMAIN, INC., SAINT BITTS LLC d/b/a
  BITCOIN.COM, ROGER VER, BITMAIN
  TECHNOLOGIES LTD., BITMAIN
  TECHNOLOGIES HOLDING COMPANY,
  JIHAN WU, PAYWARD VENTURES, INC.
  d/b/a KRAKEN, JESSE POWELL,
  AMAURY SECHET, SHAMMAH
  CHANCELLOR, and JASON COX,

                 Defendants.
                                                   /

                                  DEFENDANT BITMAIN INC.’S
                              CORPORATE DISCLOSURE STATEMENT

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Bitmain Inc.

  (“Bitmain”) hereby submits its corporate disclosure statement. Bitmain states that it is a wholly-

  owned subsidiary of BitMain Technologies Holding Company and that no publicly held

  corporation owns 10% or more of Bitmain’s stock.
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 Date: January 7, 2019                        Respectfully submitted,


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                                              Attorneys for Defendant Bitmain Inc.



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 7, 2019, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

  to all counsel of record for the parties.



                                              /s/ Christopher R.J. Pace
                                              Christopher R.J. Pace




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